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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION



UNITED STATES OF AMERICA                          No. 3:04–cr–00047-002

                      v.
                                                  ORDER

LAMONT DARNELL PAYNE
                                   Defendant.     JUDGE NORMAN K. MOON




       For the reasons discussed in the accompanying Memorandum Opinion, Defendant’s

Motion to Correct Judgment Order for Clerical Mistake (docket no 1605) is DENIED.

       It is so ORDERED.

       The Clerk of the Court is directed to send a certified copy of this Order and the

accompanying Memorandum Opinion to all counsel of record, and to Defendant.

                      1st day of March, 2012.
       Entered this ______
